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    6
        Attorneys for Debtors and Debtors in
    7   Possession, SCOOBEEZ, SCOOBEEZ GLOBAL,
        INC., and SCOOBUR, LLC
    8
                                     UNITED STATES BANKRUPTCY COURT
    9                                 CENTRAL DISTRICT OF CALIFORNIA
  10                                       LOS ANGELES DIVISION

  11                                                      Case No. 2:19-bk-14989-WB
            In re:                                        Jointly Administered:
  12                                                      2:19-bk-14991-WB; 2:19-bk-14997-WB
            SCOOBEEZ, et al.1
  13                                                      Chapter 11
                     Debtors and Debtors in Possession.
  14
                                                          MOTION FOR ENTRY OF ORDER (I)
  15        Affects:                                      AUTHORIZING THE SALE OF
                                                          SUBSTANTIALLY ALL OF THE ASSETS OF
  16        ■ All Debtors                                 DEBTOR OUTSIDE THE ORDINARY COURSE
                                                          OF BUSINESS, FREE AND CLEAR OF ALL
  17        □ Scoobeez, ONLY                              LIENS, CLAIMS, ENCUMBRANCES AND
                                                          INTERESTS, SUBJECT TO HIGHER AND
  18        □ Scoobeez Global, Inc., ONLY                 BETTER BIDS; (II) AUTHORIZING THE
                                                          ASSUMPTION AND ASSIGNMENT OF
  19        □ Scoobur LLC, ONLY                           CERTAIN EXECUTORY CONTRACTS AND
                                                          UNEXPIRED LEASES IN CONNECTION WITH
  20                                                      SUCH SALE; AND (III) GRANTING RELATED
                                                          RELIEF; MEMORANDUM OF POINTS AND
  21                                                      AUTHORITIES; DECLARATION OF BRIAN
                                                          WEISS
  22
                                                          Hearing:
  23                                                      Date: October 17, 2019
                                                          Time: 10:00 a.m.
  24                                                      Place: Courtroom 1375
                                                                 U.S. Bankruptcy Court
  25                                                             255 East Temple Street
                                                                 Los Angeles, CA 90012
  26

  27
        1
  28      The Debtors and the last four digits of their respective federal taxpayer identification numbers are as
        follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’
        address is 3463 Foothill Boulevard, Glendale, California 91214.

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    1              TO THE HONORABLE JULIA BRAND, UNITED STATES BANKRUPTCY JUDGE,
    2   AND ALL INTERESTED PARTIES:
    3              PLEASE TAKE NOTICE that on September 19, 2019, Scoobeez, Scoobeez Global, Inc., and
    4   Scoobur, LLC, the debtors and debtors in possession (collectively “Debtors”) in the above-captioned
    5   chapter 11 bankruptcy cases (collectively the “Chapter 11 Cases”) filed their motion (the “Sale Motion”)
    6   pursuant to sections 105(a), 363, and 365 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.
    7   (the “Bankruptcy Code”), and Rules 2002, 6004, 6006, and 9014 of the Federal Rules of Bankruptcy
    8   Procedure (the “Bankruptcy Rules”), and Local Rule of Bankruptcy Procedure 6004-1 (the “Local
    9   Rules”) for entry of an order (the “Sale Order”) (i) authorizing the sale of substantially all the Debtors’
  10    assets (the “Sale”), free and clear of liens, claims, interests and encumbrances, including without
  11    limitation any successor liability, pursuant to that certain asset purchase agreement as may be modified
  12    (the “Stalking Horse Purchase Agreement”) to Hillair Capital Advisors LLC (whose address is 118 Alta
  13    Street, San Francisco, CA 94133) as the stalking horse Buyer (the “Stalking Horse Bidder”), or to the
  14    Winning Bidder on a modified version of asset purchase agreement following a Court-approved auction
  15    and bidding process, (ii) authorizing the assumption and sale of the Assumed Contracts to the Stalking
  16    Horse Bidder or the Winning Bidder in connection with the Sale, and (iii) granting related relief.
  17               PLEASE TAKE FURTHER NOTICE that subject to higher and better bids through an auction
  18    process overseen and approved by this Court, the Stalking Horse Purchase Agreement contemplates a
  19    sale of the Assets (which include substantially all the assets of the Debtors, including cash, accounts
  20    receivable, intellectual property, inventory and equipment and Assumed Contracts, subject to exclusions
  21    as provided in the Stalking Horse Purchase Agreement), to the Stalking Horse Bidder for a credit bid in
  22    the initial amount of $9,000,000.00, with the ability for the Stalking Horse Bidder to credit bid up to the
  23    full amount of its secured claim ($11,108,000, plus any further interest and fees payable pursuant to, and
  24    subject to the terms of, the Cash Collateral Stipulation and Cash Collateral Order) plus the Expense
  25    Reimbursement. The Stalking Horse Bidder’s right to Net Working Capital (including, without
  26    limitation, cash and accounts receivable) in the purchase will be reduced by a formula in the event its
  27    credit bid exceeds $9,000,000. In the event the Stalking Horse Bidder’s offer is overbid by a successful
  28    topping bid, the Stalking Horse Purchase Agreement provides for the Stalking Horse Bidder and the

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    1   Debtors to equally share the cash (or cash equivalent) proceeds of a sale above $9,000,000 (provided of
    2   course, the Stalking Horse Bidder’s right to proceeds is capped at the remaining amount of debt owed).
    3   The Stalking Horse Bidder has agreed that (a) if it is the Winning Bidder or (b) if it is not the Winning
    4   Bidder in the Sale, but it is paid at least the $9,000,000 amount of its minimum credit bid and any
    5   amounts due under the sharing process agreed among the parties, then the Stalking Horse Bidder will
    6   not have an unsecured claim for any deficiency. Except as otherwise provided in the Stalking Horse
    7   Purchase Agreement, the sale will be free and clear of all liens, claims and encumbrances, including any
    8   claims or liens of Queen Funding, LLC, App Group International, LLC, GTR Source, LLC, Premier
    9   Business Bank, Peter Rosenthal or the Peter Rosenthal Revocable Trust, HOP Capital, Corporation
  10    Service Company as representative, and CT Corporation System as representative.
  11               The Stalking Horse Purchase Agreement also provides for the Debtors to retain and receive
  12    working capital assets in accordance with a formula intended to: (i) transfer a functional amount of
  13    working capital in the sold business, to incentivize buyers to submit bids; (ii) level the playing field of
  14    bidding in the event the Stalking Horse Bidder decides to credit bid more than $9,000,000 and (iii) keep
  15    valuable working capital assets in the estate. Specifically, the Stalking Horse Purchase Agreement
  16    provides that (a) the Stalking Horse Bidder will receive the first $1,750,000 of “Net Working Capital”
  17    (as defined in the Stalking Horse Purchase Agreement) in the estate as of closing; (b) the Debtors will
  18    receive the second $1,750,000 of Net Working Capital and (c) the Debtors and the Stalking Horse
  19    Bidder will equally share Net Working Capital above $3,500,000 (provided, in all instances, the Stalking
  20    Horse Bidder’s right to such assets is capped at the amount of debt owed).
  21               The Stalking Horse Purchase Agreement further provides for the Stalking Horse Bidder to pay
  22    transfer taxes arising from the sale and to assume certain liabilities of the Debtors, including any
  23    scheduled liens which may be senior to The Stalking Horse Bidder, and postpetition trade accounts
  24    payable, accrued expenses, accrued employee compensation, absences, vacation pay and other liabilities
  25    arising in the ordinary course of business, including the payment of such amounts from working capital
  26    of the Debtors.
  27               PLEASE TAKE FURTHER NOTICE that on September 17, 2019, the Court entered an order
  28    (the “Bid Procedures Order”) approving procedures for the Sale (the “Bid Procedures”). In the Bid

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    1   Procedures Order, among other things, the Court established a process for the Debtors to solicit higher
    2   and better bids to top the Stalking Horse Bidder’s offer in the Stalking Horse Purchase Agreement, and
    3   set an Auction to take place on October 14, 2019 at 10:00 a.m. at the offices of Foley & Lardner LLP,
    4   555 South Flower Street, Suite 3500, Los Angeles, CA 90071, in the event qualifying bids were received
    5   by the bid deadline of October 11, 2019 at 5:00 p.m. Parties interested in bidding should read the Bid
    6   Procedures Order and Bid Procedures in full, because they contain numerous requirements for potential
    7   bidders.
    8              PLEASE TAKE FURTHER NOTICE that pursuant to the Bid Procedures Order, any and all
    9   objections to the Sale or the relief requested in connection with the Sale in the Sale Motion (a “Sale
  10    Objection”), other than a Supplemental Sale Objection (as defined below), must (a) be in writing; (b)
  11    comply with the Bankruptcy Rules and the Local Rules (c) set forth the specific basis for the Sale
  12    Objection; (d) be filed with the Clerk of the United States Bankruptcy Court for the Central District of
  13    California, 255 East Temple Street, Los Angeles, CA 90012, together with proof of service, on or before
  14    4:00 p.m. (Pacific time) on October 1, 2019 (the “Sale Objection Deadline”); and (e) be served, so as
  15    actually to be received, on or before the Sale Objection Deadline, upon (i) the Debtors, care of their
  16    Chief Restructuring Officer, Brian Weiss, Force 10 Partners LLC, 20341 SW Birch Suite 220, Newport
  17    Beach, CA 92660 (bweiss@force10partners.com); (ii) counsel to the Debtors, Foley & Lardner LLP,
  18    555 S. Flower Street, 33rd Floor, Los Angeles, CA 90071, Attn: Ashley M. McDow
  19    (amcdow@foley.com) and John A. Simon (jsimon@foley.com); (iii) financial advisors to the Debtors,
  20    Conway MacKenzie, Inc., 333 South Hope Street, Suite 3625, Los Angeles, CA Attn: Michael Flynn
  21    (mflynn@conwaymackenzie.com); (iv) the Debtors’ investment banker, Armory Securities LLC, 1230
  22    Rosecrans Avenue, Manhattan Beach, CA 90266, Attn: Eben Perison (eperison@armorysecurities.com)
  23    and Jonathan Brownstein (jbrownstein@armorysecurities.com) ; (v) counsel to the Official Committee
  24    of Unsecured Creditors, Levene, Neale, Bender, Yoo & Brill L.L.P., 10250 Constellation Blvd., Suite
  25    1700, Los Angeles, CA 90067, Attn: David Neale (dln@lnbyb.com) and John-Patrick Fritz
  26    (jpf@lnbyb.com); and (vi) counsel to Stalking Horse Bidder: Olshan Frome Wolosky LLP, 1325
  27    Avenue of the Americas, New York, NY 10019, Attn: Adam Friedman (afriedman@olshanlaw.com)
  28    and Buchalter, 1000 Wilshire Boulevard, Suite 1500, Los Angeles, CA 90017 Attn: Anthony Napolitano

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    1   (anapolitano@buchalter.com) and Steven Spector (sspector@buchalter.com) (collectively, the
    2   “Objection Notice Parties”). If a Sale Objection is not filed and served on or before the Sale Objection
    3   Deadline in accordance with the foregoing requirements, the objecting party shall be barred from
    4   objecting to the Sale and shall not be heard at the Sale Hearing to be held on October 17, 2019 at 10:00
    5   a.m., except in connection with a timely filed Supplemental Sale Objection (as defined below), and this
    6   Court may enter the Sale Order without further notice to such party.
    7              PLEASE TAKE FURTHER NOTICE that any and all objections to the conduct of the Auction
    8   (but not auction procedures) or the selection of the Winning Bidder or Back-Up Bidder as defined in the
    9   Bid Procedures (except for the Stalking Horse Bidder) (a “Supplemental Sale Objection”), shall (a) be in
  10    writing; (b) comply with the Bankruptcy Rules and the Local Rules; (c) set forth the specific basis for
  11    the Supplemental Sale Objection; (d) be filed with the Clerk of the United States Bankruptcy Court for
  12    the Central District of California, 255 East Temple Street, Los Angeles, CA 90012, together with proof
  13    of service, on or before 4:00 p.m. (Pacific time) on October 15, 2019 (the “Supplemental Sale Objection
  14    Deadline”); (e) be served, so as actually to be received, on or before the Supplemental Sale Objection
  15    Deadline, upon the Objection Notice Parties; and (f) in the case of objections to the Auction, be made
  16    only by a Qualified Bidder who attended the Auction. If a Supplemental Sale Objection is not filed and
  17    served on or before the Supplemental Sale Objection Deadline in accordance with the foregoing
  18    requirements, the objecting party shall be barred from objecting to the Auction or the Sale to the
  19    Winning Bidder or Back-Up Bidder, as applicable, and shall not be heard at the Sale Hearing, except in
  20    connection with a timely filed Sale Objection, and this Court may enter the Sale Order without further
  21    notice to such party.
  22               PLEASE TAKE FURTHER NOTICE that in support of the Sale Motion, the Debtor relies
  23    upon the Declaration of Brian Weiss in Support of the Sale Motion (the “Weiss Declaration”), the
  24    attached Memorandum of Points and Authorities, all pleadings and papers on file with this Court, and
  25    such other evidence, oral or documentary, as may be presented to this Court at or prior to the hearing on
  26    the Sale Motion.
  27               PLEASE TAKE FURTHER NOTICE that copies of the Stalking Horse Purchase Agreement,
  28    the Bid Procedures Order, or the Bid Procedures are available upon request to the undersigned counsel.

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    1              WHEREFORE, for all the foregoing reasons and the reasons stated in the Sale Motion, and
    2   such additional reasons as may be advanced at or prior to the hearing on the Sale Motion, the Debtor
    3   respectfully requests that this Court grant the relief sought in the Sale Motion and such other relief as is
    4   just and proper under the circumstances.
    5
        DATED: September 19, 2019                       FOLEY & LARDNER LLP
    6

    7

    8
                                                          /s/ Shane J. Moses
    9                                                   Ashley M. McDow (245114)
                                                        John A. Simon (admitted Pro Hac Vice)
  10                                                    Shane J. Moses (250533)
                                                        555 S. Flower St., Suite 3300
  11                                                    Los Angeles, CA 90071
                                                        Telephone: 213.972.4500
  12                                                    Email: amcdow@foley.com
                                                                jsimon@foley.com
  13                                                            smoses@foley.com

  14                                                    Attorneys for Debtors Scoobeez, Scoobeez Global,
                                                        Inc., and Scoobur LLC
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    1                          MEMORANDUM OF POINTS AND AUTHORITIES
    2

    3                                                    I.
    4                                         STATEMENT OF FACTS
    5              A.   Jurisdiction and Venue.
    6                   1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.
    7   This is a core proceeding pursuant to 28 U.S.C. § 157. Venue is proper pursuant to 28 U.S.C. §§ 1408 and
    8   1409. The statutory predicates for the relief requested herein are sections 105, 363 and 365 of title 11 of
    9   the United States Code (the "Bankruptcy Code").
  10               B.   The Bankruptcy Cases.
  11                    2.     On April 30, 2019 (the “Petition Date”), the Debtors each filed in the Court a
  12    petition for relief under chapter 11 of the Bankruptcy Code, commencing the Chapter 11 Cases. The
  13    Debtors intend to continue in possession of their property and to operate their businesses as a debtors-in-
  14    possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code. On May 20, 2019, the Office
  15    of the United States Trustee appointed an Official Committee of Unsecured Creditors (the “Committee”)
  16    in the Chapter 11 Cases. On May 13, 2019, the Court entered an order approving the joint administration
  17    of the Debtors cases [Dkt. No. 44].
  18               C.   Background.
  19                    3.    The Debtors are a logistics and delivery company headquartered at 3463 Foothill
  20    Boulevard, Glendale, California 91214, with operations in Southern California, Illinois and Texas.
  21                    4.    The Debtors are a provider of last-mile delivery solutions, providing same-day, next
  22    day and two-day door-to-door logistics and delivery services that utilizes vehicles to facilitate fast
  23    deliveries of goods from merchant distribution points to consumers. The Debtors’ business generates
  24    revenues primarily when a customer pays the Debtors’ fees for the delivery of products to consumers.
  25                    5.    The Debtors and have grown into a trusted provider of last mile delivery services.
  26    The Debtors’ largest customer is Amazon.
  27

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    1                  6.      The Debtors employ approximately 1000 employees, which increases during the
    2   holiday season, and are projected to generate in excess of $45 million in annual revenue in 2019. The
    3   Debtors’ employees are not subject to a collective bargaining agreement.
    4                  7.      Prior to the Petition Date, the Debtors became embroiled in a dispute with their
    5   primary secured lender, Hillair Capital Investments, L.P. and its affiliates, and defaulted under their loan
    6   documents. Or about April 22, 2019, Hillair Capital Management LLC (“Hillair”) filed a three-count
    7   complaint against the Debtors, alleging breach of contract, breach of guaranty and replevin and delivery,
    8   which is currently pending as case number 19GDCV00492 in the Superior Court of the State of California,
    9   County of Los Angeles, North Central District (the “Los Angeles Case”). On or about April 24, 2019,
  10    Hillair filed an Ex Parte Application to Appoint Receiver, Issue Temporary Restraining Order and Set
  11    Order to Show Cause Why Receiver Should Not Be Confirmed and Why Preliminary Injunction Should
  12    Not Be Issued (the “Ex Parte Application”) in the Los Angeles Case. Hillair alleged, among other things,
  13    that the Sellers had suffered large losses prior to the Petition Date, and the Sellers’ principal and largest
  14    shareholder, Shahan Ohanessian, had engaged in self-dealing and conduct that damaged creditors and
  15    shareholders. The hearing on the Ex Parte Application was set for May 1, 2019 at 1:30 p.m., however,
  16    the Debtors commenced the Chapter 11 Cases prior to that hearing.
  17                   8.      On June 6, 2019, the Debtors filed the Second Stipulation Between the Debtors, the
  18    Committee and Hillair Capital Management for (1) Authorization to Use Cash Collateral; and (2)
  19    Appointment of Chief Restructuring Officer [Docket No. 132] (as amended, extended, restated,
  20    supplemented or otherwise modified or superseded from time to time in accordance with the Cash
  21    Collateral Order, the “Cash Collateral Stipulation”). Any Order approving the Cash Collateral Stipulation
  22    as amended, extended, restated, supplemented or otherwise modified or superseded from time to time is
  23    referred to herein as the “Cash Collateral Order”). The Debtors are presently operating under an extended
  24    budget under the cash collateral order.
  25                   9.      On June 12, 2019, the Court entered an order appointing Brian Weiss of Force 10
  26    Partners LLC as the Debtors’ Chief Restructuring Officer (the “CRO”), after a restructuring of the
  27    Debtors’ board of directors. Based on the aforementioned events and circumstances, amongst others, the
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    1   Debtors evaluated and implemented strategies aimed towards preserving and strengthening the Debtors’
    2   operations. The Debtors’ business is producing positive cash flow.
    3                   10.    Having stabilized their business, the Debtors have embarked on a process to secure
    4   a value-maximizing path for the Debtors’ business to exit these Chapter 11 Cases.
    5                   11.    The Debtors determined, in conjunction with their professionals and in consultation
    6   with the Official Committee of Unsecured Creditors, that pursuing a sale or reorganization under Chapter
    7   11 of the Bankruptcy Code provided the best option for the Debtors, their customer base, and their creditor
    8   constituents.
    9                   12.    On July 8, 2019, the Debtors filed their Application to retain Armory Securities,
  10    LLC (“Armory”) as their investment banker, to market the Debtors’ business for a sale or recapitalization.
  11    On September 4, 2019, the Court entered an order approving the retention of Armory [Dkt. No. 302].
  12                    13.    Armory is in the midst of the marketing process, including identifying and
  13    contacting potentially interested parties (both financial and strategic) who may be interested in acquiring
  14    the Debtors’ business, signing such parties to non-disclosure agreements, processing and establishing a
  15    data room with due diligence information and preparing and circulating marketing materials to potentially
  16    interested parties and coordinating with interest parties on their questions and issues regarding the
  17    Debtors’ assets.
  18               D.   The Proposed Sale Transaction and Sale Process.
  19                    14.    In order to maximize the value of their business and advance the resolution of the
  20    Chapter 11 Cases, the Debtors decided, in their business judgment, after extensive negotiations amongst
  21    the Debtors, Hillair and the Committee, to pursue a process pursuant to section 363 of the Bankruptcy
  22    Code for the sale (the “Sale”) of substantially all of the Debtors’ assets (the “Assets”), to a stalking horse
  23    purchaser subject to higher and better offers, while preserving a right to seek a recapitalization if revealed
  24    as a better alternative during the marketing process.        While the Committee remains open to other
  25    restructuring alternatives if they would yield a greater recovery by unsecured creditors, the Committee
  26    has agreed to support the Sale.
  27                    15.    In connection with the aforementioned negotiations, the Debtors, Hillair and the
  28    Committee entered into a Term Sheet among dated as of August 20, 2019 (the “Term Sheet”). In

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    1   furtherance of the Term Sheet, the Debtors worked with the Committee and Hillair and eventually entered
    2   into the executed Asset Purchase Agreement attached as Exhibit A (the “Stalking Horse Purchase
    3   Agreement”) between the Debtors, as Sellers, and Hillair Capital Advisors LLC, as the stalking horse
    4   Buyer (the “Stalking Horse Bidder”). A copy of the Stalking Horse Purchase Agreement was filed with
    5   the Court on September 13, 2019 [Dkt. No. 318].
    6                  16.     Pursuant to a motion (the “Bid Procedures Motion”) filed with the Court on August
    7   29, 2019 [Dkt. No. 293], the Debtors requested Court approval of procedures, deadlines, key dates and
    8   notices for the Sale process. On September 17, 2019, the Court entered an order which, among other
    9   things, (i) approved procedures (the “Bid Procedures”) for bidding on the Sale and set a potential auction
  10    for October 14, 2019 at 10:00 a.m.; (ii) approved procedures for the assumption and assignment of
  11    executory contracts and unexpired leases and notice to counterparties to the same (the “Assumption and
  12    Assignment Procedures”); (iii) approved notice procedures for the Sale and all relevant deadlines in
  13    connection therewith, which established October 1, 2019 as the general deadline for objections to the Sale;
  14    and (iv) set the hearing on the Sale (the “Sale Hearing”) for October 17, 2019 at 10:00 a.m.
  15                   17.     Subject to higher and better bids through the bidding and Auction process approved
  16    by this Court in the Bid Procedures Order, the Stalking Horse Purchase Agreement contemplates a sale of
  17    the Assets to the Stalking Horse Bidder for a credit bid in the initial amount of $9,000,000.00, with the
  18    ability for the Stalking Horse Bidder to credit bid up to the full amount of its secured claim ($11,108,000,
  19    plus any further interest and fees payable pursuant to, and subject to the terms of, the Cash Collateral
  20    Stipulation and Cash Collateral Order), with the Stalking Horse Purchaser’s right to Net Working Capital
  21    reduced by a formula in the event its credit bid exceeds $9,000,000, as discussed below. In the event the
  22    Stalking Horse Bidder’s offer is overbid by a successful topping bid, the Stalking Horse Purchase
  23    Agreement provides for the Stalking Horse Bidder and the Debtors to equally share the cash (or cash
  24    equivalent) proceeds of a sale above $9,000,000 (provided of course, the Stalking Horse Bidder’s right to
  25    proceeds is capped at the remaining amount of debt owed). The Stalking Horse Bidder has agreed that
  26    (a) if it is the Winning Bidder (as defined in the Bid Procedures) or (b) if it is not the Winning Bidder in
  27    the Sale, but it is paid at least the $9,000,000 amount of its minimum credit bid and any amounts due
  28

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    1   under the sharing process agreed among the parties, then the Stalking Horse Bidder will not have an
    2   unsecured claim for any deficiency.
    3                  18.     The Assets which will be sold are substantially all of the Debtors’ assets including,
    4   but not limited to: cash, accounts receivable, and other current working assets of the Debtors subject to
    5   certain Working Capital Adjustments, inventory, equipment, deposits, intellectual property, assumed
    6   executory contracts and unexpired leases, permits, supplies, to the extent such interests are assignable,
    7   interests of the Debtors in non-disclosure, non-competition, and non-solicitation agreements, intangible
    8   assets, and certain causes of action.
    9                  19.     The Agreement contains mutual releases between the Debtors and Hillair, including
  10    the release of pre-petition claims of Hillair against the Debtors and certain of their officers, directors,
  11    employees, and representatives.
  12                   20.     The Stalking Horse Purchase Agreement also provides for the Debtors to retain and
  13    receive working capital assets in accordance with a formula intended to: (i) transfer a functional amount
  14    of working capital in the sold business, to incentivize buyers to submit bids; (ii) level the playing field of
  15    bidding in the event the Stalking Horse Bidder decides to credit bid more than $9,000,000 and (iii) keep
  16    valuable working capital assets in the estate. Specifically, the Stalking Horse Purchase Agreement
  17    provides that (a) the Stalking Horse Bidder will receive the first $1,750,000 of “Net Working Capital” (as
  18    defined in the Stalking Horse Purchase Agreement) in the estate as of closing; (b) the Debtors will receive
  19    the second $1,750,000 of Net Working Capital and (c) the Debtors and the Stalking Horse Bidder will
  20    equally share Net Working Capital above $3,500,000 (provided, in all instances, the Stalking Horse
  21    Bidder’s right to such assets is capped at the amount of debt owed).
  22                   21.     The Stalking Horse Purchase Agreement further provides for the Stalking Horse
  23    Bidder to assume certain liabilities of the Debtors, including any scheduled liens which may be senior to
  24    the Stalking Horse Bidder, and post-petition trade accounts payable, accrued expenses, accrued employee
  25    compensation, absences, vacation pay and other liabilities arising in the ordinary course of business.
  26                   22.     The Sale is an “as is” sale but includes limited representations, warranties, and
  27    covenants as set forth in the Stalking Horse Purchase Agreement provided representations and warranties
  28    will expire as of Closing.

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    1                   23.    By this Sale Motion, the Debtors request authority to sell substantially all their
    2   Assets, free and clear of all liens, claims, interests and encumbrances, to the Stalking Horse Bidder on the
    3   terms of the Stalking Horse Purchase Agreement, or to the Winning Bidder after the Auction process, on
    4   the forms of a Modified Agreement submitted pursuant to the Bid Procedures. The Debtors also request
    5   authority to assume and assign Assumed Contracts selected by the buyer in accordance with such sale.
    6   The Bid Procedures Order already approved the Assumption and Assignment Procedures and notice
    7   procedures for the Sale, and the Debtors intend to follow the provisions of the Bid Procedures Order in
    8   that regard.
    9

  10                                                      II.
  11                                                  DISCUSSION
  12               A.   The Sale is Within the Sound Business Judgment of the Debtors and Should be
  13                    Approved.
  14                    24.    Section 363(b)(l) of the Bankruptcy Code provides, in relevant part, that a debtor
  15    in possession, “after notice and a hearing, may use, sell, or lease, other than in the ordinary course of
  16    business, property of the estate.” 11 U.S.C. § 363(b)(l). Section 363 of the Bankruptcy Code does not set
  17    forth a standard for determining when it is appropriate for a court to authorize the sale or disposition of a
  18    debtor’s assets prior to confirmation of a plan. However, courts throughout the country have required that
  19    the decision to sell assets outside the ordinary course of business be based upon the sound business
  20    judgment of the debtors. See In re Ernst Home Centers, Inc., 209 B.R. 974, 979 (Bankr. W.D. Wash.
  21    1997); see also In re Abbotts Dairies of Pennsylvania, Inc., 788 F.2d 143 (3d Cir. 1986); see also Myers
  22    v. Martin (In re Martin), 91 F.3d 389, 395 (3d Cir. 1996); Comm. of Equity Sec. Holders v. Lionel Corp.
  23    (In re Lionel Corp.), 722 F.2d 1063, 1071 (2d Cir. 1983); Dai-Ichi Kangyo Bank, Ltd. v. Montgomery
  24    Ward Holding Corp., (In re Montgomery Ward Holding Corp.), 242 B.R. 147, 153 (D. Del. 1999); In re
  25    Delaware & Hudson Ry. Co., 124 B.R. 169, 176 (D.D.C. 1991).
  26                    25.    The “sound business judgment” test requires a debtor to establish four elements in
  27    order to justify the sale or lease of property outside the ordinary course of business, namely, (a) that a
  28    “sound business purpose” justifies the sale of assets outside the ordinary course of business, (b) that

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    1   adequate and reasonable notice has been provided to interested persons, (c) that the debtors have obtained
    2   a fair and reasonable price, and (d) good faith. Abbotts Dairies, 788 F.2d 143; Titusville Country Club v.
    3   Pennbank (In re Titusville Country Club), 128 B.R. 396, 399 (Bankr. W.D. Pa. 1991); In re Sovereign
    4   Estates, Ltd, 104 B.R. 702, 704 (Bankr. E.D. Pa. 1989). Courts in the Ninth Circuit utilize a substantially
    5   similar approach. See, e.g., In re 240 North Brand Partners, Ltd., 200 B.R. 653 (B.A.P. 9th Cir. 1996)
    6   (noting a sale outside the ordinary course of business under Section 363 requires demonstration that the
    7   sale has a valid business justification and is proposed in good faith); see also In re Alaska Fishing
    8   Adventure, LLC, 594 B.R. 883, 887 (Bankr. D. Alaska 2018). In this case, the Debtors submit that the
    9   decision to proceed with the Sale is based upon their sound business judgment and should be approved.
  10    A debtor’s showing of a sound business purpose need not be unduly exhaustive but, rather, a debtor is
  11    “simply required to justify the proposed disposition with sound business reasons.” In re Baldwin United
  12    Corp., 43 B.R. 888, 906 (Bankr. S.D. Ohio 1984). Whether or not there are sufficient business reasons to
  13    justify a transaction depends upon the facts and circumstances of each case. Lionel, 722 F.2d at 1071;
  14    Montgomery Ward, 242 B.R. at 155 (approving funding of employee incentive and severance program;
  15    business purpose requirement fulfilled because stabilizing turnover rate and increasing morale were
  16    necessary to successful reorganization).
  17                   26.     Additionally, section 105(a) of the Bankruptcy Code provides a bankruptcy court
  18    with broad powers in the administration of a case under the Bankruptcy Code. Section 105(a) provides
  19    that “[t]he court may issue any order, process, or judgment that is necessary or appropriate to carry out
  20    the provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a). Provided that a bankruptcy court does not
  21    employ its equitable powers to achieve a result not contemplated by the Bankruptcy Code, the exercise of
  22    its section 105(a) power is proper. In re Fesco Plastics Corp., 996 F.2d 152, 154 (7th Cir. 1993); Pincus
  23    v. Graduate Loan Ctr. (In re Pincus), 280 B.R. 303, 312 (Bankr. S.D.N.Y. 2002). Pursuant to section
  24    105(a), a court may fashion an order or decree that helps preserve or protect the value of a debtor’s assets.
  25    See, e.g., Chinichian v. Campolongo (In re Chinichian), 784 F.2d 1440, 1443 (9th Cir. 1986) (“Section
  26    105 sets out the power of the bankruptcy court to fashion orders as necessary pursuant to the purposes of
  27    the Bankruptcy Code); In re Cooper Props. Liquidating Trust, Inc., 61 B.R. 531, 537 (Bankr. W.D. Tenn.
  28    1986) (noting that bankruptcy court is “one of equity and as such it has a duty to protect whatever equities

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    1   a debtor may have in property for the benefit of its creditors as long as that protection is implemented in
    2   a manner consistent with the bankruptcy laws.”).
    3                  27.     The Debtors submit that more than ample business justification exists to sell the
    4   Assets to the Stalking Horse Bidder or other Winning Bidder pursuant to the Bid Procedures. The Debtors
    5   believe that, under the circumstances, a targeted and robust sale process is most likely to achieve the
    6   highest and best value for the Assets, assuming that a more attractive and feasible recapitalization
    7   alternative is not offered during the marketing process. The Court-approved marketing and bid procedures
    8   provide a level playing field and reasonable process and timeline for parties interested in the Debtors’
    9   business to offer higher and better bids or recapitalization proposals. The Debtors’ investment bankers,
  10    Armory Securities, are scouring the marketplace and contacting parties who are likely to be interested in
  11    making competing offers for the business. By the time of the Bid Deadline, Armory Securities will have
  12    been marketing the Debtors’ business for sale or recapitalization for 90 days including a 30 day preparation
  13    period. Furthermore, it is critical that the Debtors avoid lingering in bankruptcy in order to give their
  14    vendors and customers enhanced confidence in the continuity of the business. Thus, the relief sought
  15    herein is not only reasonable, but necessary, to maximize the value of the Debtors’ estates for the benefit
  16    of their stakeholders, satisfying the first prong of the Abbotts Dairies standard.
  17                   28.     The Court-approved Bid Procedures, in combination with Armory’s marketing
  18    efforts, will provide adequate notice to all potentially interested parties, including those who may be
  19    interested in purchasing the Assets. Indeed, the Debtors and their professionals have and will continue to
  20    market the Assets, and have solicited the most likely interested competing bidders. Furthermore, the Court
  21    has approved the sale notice procedures as adequate pursuant to the Bid Procedures Order. The Debtor
  22    will also be providing the form notice required under Local Bankruptcy Rule 6007-1(f). Accordingly,
  23    the proposed Sale satisfies the second prong of the Abbotts Dairies standard.
  24                   29.     Moreover, under the circumstances, the Bid Procedures will maximize the value
  25    received for the Assets. The process being pursued by the Debtors, in cooperation with Hillair and the
  26    Committee, allows for a timely and efficient auction process, given the circumstances facing the Debtors,
  27    while providing bidders with adequate time and information to submit a bid and to perform diligence.
  28    Through the Bid Procedures, the Debtors are subjecting the value of the Assets to a market test, permitting

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    1   prospective purchasers to bid on the Assets in a court-supervised Auction process as set forth in the Bid
    2   Procedures. Accordingly, the Debtor and all parties in interest can be assured that the consideration
    3   received for the Assets will be fair and reasonable, and, therefore, the third prong of the Abbotts Dairies
    4   standard is satisfied. As discussed below, the “good faith” prong of the Abbotts Dairies standard is also
    5   satisfied here.
    6              B.     The Sale Satisfies the Requirements of Section 363(f) of the Bankruptcy Code
    7                     30.   Under section 363(f) of the Bankruptcy Code, a debtor-in-possession may sell all
    8   or any part of its property free and clear of any and all liens, claims or interests in such property if: (i)
    9   such a sale is permitted under applicable non-bankruptcy law; (ii) the party asserting such a lien, claim or
  10    interest consents to such sale; (iii) the interest is a lien and the purchase price for the property is greater
  11    than the aggregate amount of all liens on the property; (iv) the interest is the subject of a bona fide dispute;
  12    or (v) the party asserting the lien, claim or interest could be compelled, in a legal or equitable proceeding,
  13    to accept a money satisfaction for such interest. 11 U.S.C. § 363(f); Citicorp Homeowners Serv., Inc. v.
  14    Elliot (In re Elliot), 94 B.R. 343, 345 (E.D. Pa. 1988) (noting that section 363(f) of the Bankruptcy Code
  15    is written in the disjunctive; therefore, a court may approve a sale “free and clear” provided at least one
  16    of the subsections is met). Because the Debtors expects that it will satisfy, at minimum, the first, second,
  17    fourth and fifth of these requirements, if not others as well, approving the sale of the Assets free and clear
  18    of all adverse interests is warranted. Furthermore, courts have held that they have the equitable power to
  19    authorize sales free and clear of interests that are not specifically covered by section 363(1). See, e.g., In
  20    re Trans World Airlines, Inc., 2001 WL 1820325 at *3, 6 (Bankr. D. Del. March 27, 2001); Volvo White
  21    Truck Corp. v. Chambersburg Beverage, Inc. (In re White Motor Credit Corp.), 75 B.R. 944, 948 (Bankr,
  22    N.D. Ohio 1987).
  23                      31.   At the closing of the Sale, Hillair’s senior secured interest will be satisfied, either
  24    by the credit bid or by payment if the Stalking Horse Bidder is not the Winning Bidder. Such arrangement
  25    is necessary and appropriate to procure Hillair’s consent and to allow a sale free and clear of Hillair’s
  26    liens. The arrangement also benefits the other creditors of the estates because Hillair’s claim will be
  27    satisfied through the Sale. To the extent there are other purportedly secured claims, (i) the Stalking Horse
  28    Bidder has agreed to assume them if they are senior to Hillair, (ii) such claims are junior to the Hillair

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    1   claims, and thus a process exists whereby such claims could be foreclosed out, satisfying section 363(f)
    2   or (iii) the Debtors dispute the validity of such liens and therefore, the Sale may proceed because such
    3   liens are subject to bona fide disputes. The Debtors reserve the right to provide additional arguments and
    4   authority in respect of any secured claim in the event of an objection to this Sale Motion.
    5              C.   The Sale is Proposed in Good Faith Under Section 363(m) of the Bankruptcy Code
    6                   32.     The Debtors requests that the Court find that the Winning Bidder is entitled to the
    7   benefits and protections provided by section 363(m) of the Bankruptcy Code in connection with the Sale.
    8   Section 363(m) of the Bankruptcy Code provides, in pertinent part:
    9
                        The reversal or modification on appeal of an authorization under
  10
                        subsection (b) . . . of this section of a sale... of property does not affect the
  11                    validity of a sale . , under such authorization to an entity that purchased . .
                        . such property in good faith, whether or not such entity knew of the
  12                    pendency of the appeal, unless such authorization and such sale . . . were
                        stayed pending appeal,
  13

  14    11 U.S.C. § 363(m).
  15                    33.     Section 363(m) of the Bankruptcy Code thus protects the purchaser of assets sold
  16    pursuant to section 363 of the Bankruptcy Code from the risk that it will lose its interest in the purchased
  17    assets if the order allowing the sale is reversed on appeal. By its terms, section 363(m) of the Bankruptcy
  18    Code applies to sales of interests in tangible assets, such as the Purchased Assets.
  19                    34.     The Debtors submit, and will present evidence at the Sale Hearing, if necessary,
  20    that as set forth above, the Stalking Horse Purchase Agreement was an intensely negotiated, arm’s-length
  21    transaction between two separate and independent parties, in which both Hillair and the Debtors acted in
  22    good faith. The Committee also participated in the negotiations and has agreed to the general terms of the
  23    Stalking Horse Purchase Agreement. Accordingly, the Debtors request that the Court make the finding
  24    that Hillair (or the Winning Bidder if not Hillair) has purchased the Assets in good faith within the meaning
  25    of section 363(m) of the Bankruptcy Code.
  26                    35.     In connection with the hearing on the approval of this Sale Motion, the Debtors
  27    expect to request, and submit sufficient evidence in support of such request, that the Court find that (i) the
  28

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    1   sale is not avoidable under Section 363(n) or (ii) that there are no damages to be recovered under Section
    2   363(n).
    3              D.   The Debtors’ Assumption and Assignment to the Buyer of Executory Contracts and
    4                   Unexpired Leases Pursuant to the Assumption and Assignment Procedures
    5                   Approved by the Court is Supported by Reasonable Business Judgment and Should
    6                   Be Approved
    7                   36.    Section 365(a) of the Bankruptcy Code provides, in pertinent part, that a debtor in
    8   possession “subject to the court’s approval, may assume or reject any executory contract or [unexpired]
    9   lease of the debtor.” 11 U.S.C. § 365(a). The standard governing bankruptcy court approval of a debtor’s
  10    decision to assume or reject an executory contract or unexpired lease is whether the debtor’s reasonable
  11    business judgment supports assumption or rejection. See, e.g., In re Pomona Valley Med. Group, Inc., 476
  12    F.3d 665, 670 (9th Cir. 2007); In re American Suzuki Motor Corp., 494 B.R. 466, (Bankr. C.D. Cal. 2013);
  13    In re Stable Mews Assoc., Inc., 41 B.R. 594, 596 (Bankr. S.D.N.Y. 1984). If the debtor’s business
  14    judgment has been reasonably exercised, a court should approve the assumption or rejection of an
  15    unexpired lease or executory contract. See Group of Institutional Investors v. Chicago M. St. P. & P.R.R.
  16    Co., 318 U.S. 523 (1943); Sharon Steel Corp., 872 F.2d 36, 39-40 (3d Cir. 1989). The business judgment
  17    test “requires only that the trustee [or debtor in possession] demonstrate that [assumption or] rejection of
  18    the contract will benefit the estate.” Wheeling-Pittsburgh Steel Corp. v. West Penn Power Co. (In re
  19    Wheeling-Pittsburgh Steel Corp.), 72 B.R. 845, 846 (Bankr. W.D. Pa. 1987) (quoting Stable Mews Assoc.,
  20    41 B.R. at 596). Any more exacting scrutiny would slow the administration of a debtor’s estate and
  21    increase costs, interfere with the Bankruptcy Code’s provision for private control of administration of the
  22    estate, and threaten the court’s ability to control a case impartially. See Richmond Leasing Co. v. Capital
  23    Bank, NA., 762 F.2d 1303, 1311 (5th Cir. 1985). Moreover, pursuant to section 365(b)(1) of the
  24    Bankruptcy Code, for a debtor to assume an executory contract, it must “cure, or provide adequate
  25    assurance that the debtor will promptly cure,” any default, including compensation for any “actual
  26    pecuniary loss” relating to such default. 11 U.S.C. § 365(b)(1).
  27                    37.    Once an executory contract is assumed, the trustee or debtor in possession may
  28    elect to assign such contract. See In re Rickel Home Centers, Inc., 209 F.3d 291, 299 (3d Cir. 2000) (“[t]he

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    1   Code generally favors free assignability as a means to maximize the value of the debtor’s estate”); see
    2   also In re Headquarters Dodge, Inc., 13 F.3d 674, 682 (3d Cir. 1994) (noting purpose of section 365(f) is
    3   to assist trustee in realizing the full value of the debtor’s assets).
    4                   38.     Section 365(o) of the Bankruptcy Code provides that the “trustee may assign an
    5   executory contract . . only if the trustee assumes such contract . . . and adequate assurance of future
    6   performance is provided.” 11 U.S.C. § 365(o)(2). The meaning of “adequate assurance of future
    7   performance” depends on the facts and circumstances of each case, but should be given “practical,
    8   pragmatic construction.” See In re Great Northwest Recreation Center, Inc., 74 B.R. 846, 854 (Bankr. D.
    9   Mont. 1987); Carlisle Homes, Inc. v. Arrari (In re Carlisle Homes, Inc.), 103 B.R. 524, 538 (Bankr. D.N.J.
  10    1989); see also In re Natco Indus., Inc., 54 B.R. 436, 440 (Bankr. S.D.N.Y. 1985) (adequate assurance of
  11    future performance does not mean absolute assurance that debtor will thrive and pay rent). Among other
  12    things, adequate assurance may be given by demonstrating the assignee’s financial health and experience
  13    in managing the type of enterprise or property assigned. In re Bygaph, Inc., 56 B.R. 596, 605-06 (Bankr.
  14    S.D.N.Y. 1986) (adequate assurance of future performance is present when prospective assignee of lease
  15    from debtors has financial resources and has expressed willingness to devote sufficient funding to business
  16    in order to give it strong likelihood of succeeding).
  17                    39.     Additionally, section 105(a) of the Bankruptcy Code provides a bankruptcy court
  18    with broad powers in the administration of a case under title 11. Section 105(a) provides that “[t]he court
  19    may issue any order, process, or judgment that is necessary or appropriate to carry out the provisions of
  20    [title 11].” 11 U.S.C. § 105(a). Provided that a bankruptcy court does not employ its equitable powers to
  21    achieve a result not contemplated by the Bankruptcy Code, the exercise of its section 105(a) power is
  22    proper. See In re Fesco Plastics Corp., 996 F.2d 152, 154 (7th Cir. 1993); Pincus v. Graduate Loan Ctr.
  23    (In re Pincus), 280 B.R. 303, 312 (Bankr. S.D.N.Y. 2002). Pursuant to section 105(a), a court may fashion
  24    an order or decree that helps preserve or protect the value of a debtor’s assets. See, e.g., In re Chinichian,
  25    784 F.2d 1440, 1443 (9th Cir. 1986) (“Section 105 sets out the power of the bankruptcy court to fashion
  26    orders as necessary pursuant to the purposes of the Bankruptcy Code”); In re Cooper Props. Liquidating
  27    Trust, Inc., 61 B.R. 531, 537 (Bankr, W.D. Tenn. 1986) (noting that bankruptcy court is “one of equity
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    1   and as such it has a duty to protect whatever equities a debtor may have in property for the benefit of their
    2   creditors as long as that protection is implemented in a manner consistent with the bankruptcy laws”).
    3                   40.    The Debtors have determined in their business judgment that it is necessary to
    4   assume and assign the Assumed Contracts selected by a buyer, to the buyer, in connection with the Sale.
    5   Moreover, the Debtors are complying with the Court-approved Assumption and Assignment Procedures,
    6   which are, pursuant to the Bid Procedures Order, appropriate and reasonable to provide the Counterparties
    7   to Assumed Contracts with adequate notice of the proposed assumption and assignment of their applicable
    8   contracts, as well as proposed Cure Amounts, if applicable. Such Counterparties to the Assumed Contracts
    9   have an opportunity to object to such notice. The Assumption and Assignment Procedures further provide
  10    that, in the event an objection is not resolved, the Court will determine related disputed issues (including
  11    any adequate assurance of future performance issues). Accordingly, the Debtors submit that approval of
  12    the Debtors’ assumption and assignment of Assumed Contracts is appropriate in these cases.
  13               E.   Relief From the Fourteen Day Waiting Period Under Bankruptcy Rule 6004(h) and
  14                    6006(g) is Appropriate
  15                    41.    Bankruptcy Rule 6004(h) provides that an “order authorizing the use, sale, or lease
  16    of property . . . is stayed until the expiration of 14 days after entry of the order, unless the court orders
  17    otherwise.” The Debtor request that the Sale Order be effective immediately by providing that the 14 day
  18    stay under Bankruptcy Rule 6004(h) is waived.
  19                    42.    The purpose of Bankruptcy Rule 6004(h) is to provide sufficient time for an
  20    objecting party to appeal before an order can be implemented. See Advisory Committee Notes to Fed. R.
  21    Bankr. P. 6004(h). Although Bankruptcy Rule 6004(h) and the Advisory Committee Notes are silent as
  22    to when a court should “order otherwise” and eliminate or reduce the 14-day stay period, Collier on
  23    Bankruptcy suggests that the stay period should be eliminated to allow a sale or other transaction to close
  24    immediately “where there has been no objection to the procedure.” 10 Collier on Bankruptcy 15th Ed.
  25    Rev., 16064.09 (L. King, 15th rev. ed. 1988). Furthermore, Collier’s provides that if an objection is filed
  26    and overruled, and the objecting party informs the court of its intent to appeal, the stay may be reduced to
  27    the amount of time actually necessary to file such appeal. Id.
  28

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    1                  43.     As described above, time is of the essence, as the Debtors seek to avoid a decline
    2   in the value of the Assets. Since the closing of the Sale promptly is of critical importance, the Debtors
    3   hereby request that the Court waive the 14 day stay periods under Bankruptcy Rule 6004(h) and 6006(d).
    4

    5                                                     III.
    6                                                    NOTICE
    7                  44.     In accordance with the procedures ordered in the Bid Procedures Order, notice of
    8   this Sale Motion will be provided to (a) the Office of the United States Trustee, (b) the creditors appearing
    9   on the list filed in accordance with Rule 1007(d) of the Federal Rules of Bankruptcy Procedure (the
  10    "Bankruptcy Rules"), (c) the Debtors’ secured creditors and/or their counsel if known, (d) counsel for the
  11    Committee of Unsecured Creditors; (e) the Debtors’ known equity holders; and (f) all parties who have
  12    requested notice in the case under Rule 2002. In light of the nature of the relief requested, the Debtor
  13    submits that no further notice is required or needed under the circumstances.
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                                                                                     MOTION FOR SALE OF ASSETS
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    1                                                         IV.
    2                                                    CONCLUSION
    3              WHEREFORE, the Debtors respectfully request that this Court enter an Order:
    4              (1) granting the Sale Motion in its entirety;
    5              (2) approving the Debtors’ sale of substantially all their assets, and assumption and assignment
    6   of Assumed Contracts, to the Stalking Horse bidder or the Winning Bidder after the Auction process;
    7   and
    8              (3) granting such other and further relief as the Court deems just and proper.
    9
        DATED: September 19, 2019                           FOLEY & LARDNER LLP
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                                                              /s/ Shane J. Moses
  12                                                        Ashley M. McDow (245114)
                                                            John A. Simon (admitted Pro Hac Vice)
  13                                                        Shane J. Moses (250533)
                                                            555 S. Flower St., Suite 3300
  14                                                        Los Angeles, CA 90071
                                                            Telephone: 213.972.4500
  15                                                        Email: amcdow@foley.com
                                                                    jsimon@foley.com
  16                                                                smoses@foley.com

  17                                                        Attorneys for Debtors-in-Possession Scoobeez,
                                                            Scoobeez Global, Inc. and Scoobur, LLC
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                                                                                       MOTION FOR SALE OF ASSETS
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    1                                       DECLARATION OF BRIAN WEISS
    2   I, Brian Weiss, hereby declare as follows:
    3              1.   I am over 18 years of age. I have personal knowledge of the facts set forth herein, and, if
    4   called as a witness, could and would testify competently with respect thereto.
    5              2.   I am a partner and co-founder at Force Ten Partners, LLC (“Force 10”), which has its
    6   principal place office at 20341 SW Birch Street, Newport Beach, CA 92660. I am the Debtors’ Chief
    7   Restructuring Officer (“CRO”). I am authorized to make the declaration on behalf of the Debtors.
    8              3.   I am familiar with the history, organization, operations and financial condition of the
    9   Debtors. The statements set forth in this declaration are based upon my own personal knowledge and
  10    my knowledge of the Debtors’ books and records.
  11               4.   I make this declaration in support of the Debtor’s Notice of Motion and Motion for Entry
  12    of an Order (I) Authorizing the Sale of Substantially All of the Assets of Debtor Outside the Ordinary
  13    Course of Business, Free and Clear of All Liens, Claims, Encumbrances and Interests, Subject to Higher
  14    and Better Bids; (II) Authorizing the Assumption and Assignment of Certain Executory Contracts and
  15    Unexpired Leases in Connection with Such Sale; (III) Granting Related Relief; Memorandum of Points
  16    and Authorities (the “Sale Motion”) to which this declaration is annexed. 1
  17               5.   The Debtors are a logistics and delivery company headquartered at 3463 Foothill
  18    Boulevard, Glendale, California 91214, with operations in Southern California, Illinois and Texas.
  19               6.   The Debtors are a provider of last-mile delivery solutions, providing same-day, next day
  20    and two-day door-to-door logistics and delivery services that utilizes vehicles to facilitate fast deliveries
  21    of goods from merchant distribution points to consumers. The Debtors’ business generates revenues
  22    from the delivery of products to consumers.
  23               7.   The Debtors and have grown into a trusted provider of last mile delivery services. The
  24    Debtors’ largest customer is Amazon.
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          All capitalized terms used herein shall have the same meaning ascribed in the Sale Motion, unless
        otherwise stated.
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    1              8.    The Debtors employ approximately 1000 employees, which increases during the holiday
    2   season, and are projected to generate in excess of $45 million in annual revenue in 2019. The Debtors’
    3   employees are not subject to a collective bargaining agreement.
    4              9.    Prior to the Petition Date, the Debtors became embroiled in a dispute with their primary
    5   secured lender, Hillair Capital Investments, L.P. and its affiliates, and defaulted under their loan
    6   documents. Or about April 22, 2019, Hillair filed a three-count complaint against the Debtors, alleging
    7   breach of contract, breach of guaranty and replevin and delivery, which is currently pending as case
    8   number 19GDCV00492 in the Superior Court of the State of California, County of Los Angeles, North
    9   Central District (the “Los Angeles Case”). On or about April 24, 2019, Hillair filed its Ex Parte
  10    Application to appoint a receiver in the Los Angeles Case. Hillair alleged, among other things, that the
  11    Sellers had suffered large losses prior to the Petition Date, and the Sellers’ principal and largest
  12    shareholder, Shahan Ohanessian, had engaged in self-dealing and conduct that damaged creditors and
  13    shareholders. The hearing on the Ex Parte Application was set for May 1, 2019 at 1:30 p.m. The
  14    Debtors commenced the Chapter 11 Cases prior to that hearing.
  15               10.   On June 12, 2019, the Court entered an order appointing me as the Debtors’ CRO, after a
  16    restructuring of the Debtors’ board of directors. Based on the aforementioned events and circumstances,
  17    amongst others, the Debtors evaluated and implemented strategies aimed towards preserving and
  18    strengthening the Debtors’ operations. The Debtors’ business is producing positive operating cash flow.
  19               11.   The Debtors have embarked on a process to secure a value-maximizing path for the
  20    Debtors’ business to exit these Chapter 11 Cases.
  21               12.   The Debtors determined, in conjunction with their professionals and in consultation with
  22    the Official Committee of Unsecured Creditors, that pursuing a sale or recapitalization under Chapter 11
  23    of the Bankruptcy Code provided the best option for the Debtors, their customer base, and their creditor
  24    constituents.
  25               13.   In order to achieve the most effective sale process, the Debtors retained Armory
  26    Securities as their investment banker to market the Assets for sale and/or recapitalization.
  27               14.   Armory is in the midst of the marketing process, including identifying and contacting
  28    potentially interested parties (both financial and strategic) who may be interested in acquiring the

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    1   Debtors’ business, signing such parties to non-disclosure agreements, processing and establishing a data
    2   room with due diligence information and preparing and circulating marketing materials to potentially
    3   interested parties and coordinating with interest parties on their questions and issues regarding the
    4   Debtors’ assets.
    5              15.   In order to maximize the value of their business and advance the resolution of the
    6   Chapter 11 Cases, the Debtors decided, in their business judgment, after extensive negotiations amongst
    7   the Debtors, Hillair and the Committee, to pursue a recapitalization or a process pursuant to section 363
    8   of the Bankruptcy Code for the Sale of the Assets to a stalking horse purchaser subject to higher and
    9   better offers.
  10               16.   In connection with the aforementioned negotiations, the Debtors, Hillair and the
  11    Committee entered into the Term Sheet dated as of August 20, 2019. In furtherance of the Term Sheet,
  12    the Debtors have continued to work with the Committee and Hillair towards a stalking horse purchase
  13    agreement, which has resulted in the executed Stalking Horse Purchase Agreement between the Debtors,
  14    as Sellers, and Hillair, as the stalking horse Buyer, a copied of which is attached as Exhibit A to the
  15    Motion.
  16               17.   In an order entered on September 17, 2019 (the “Bid Procedures Order”), the Court
  17    approved bidding procedures for the sale of substantially all the Debtors’ assets to the Stalking Horse
  18    Bidder, subject to higher and better bids to be solicited pursuant to the Bid Procedures, as defined in and
  19    approved by the Bid Procedures Order, including an auction (the “Auction”) if more than one Qualified
  20    Bid is received.
  21               18.   I believe that, under the circumstances, a targeted and robust sale process is most likely to
  22    achieve the highest and best value for the Assets, assuming that a more attractive and feasible
  23    recapitalization alternative is not offered during the marketing process. The Court-approved marketing
  24    and bid procedures provide a level playing field and reasonable process and timeline for parties
  25    interested in the Debtors’ business to offer higher and better bids or recapitalization proposals. The
  26    Debtors’ investment bankers, Armory Securities, are scouring the marketplace and contacting parties
  27    who are likely to be interested in making competing offers for the business. By the time of the Bid
  28    Deadline, Armory Securities will have been marketing the Debtors’ business for sale or recapitalization

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    1   for 90 days including a 30 day preparation period. Furthermore, I believe it is critical that the Debtors
    2   avoid lingering in bankruptcy in order to give their vendors and customers enhanced confidence in the
    3   continuity of the business. Thus, I believe the relief sought in the Sale Motion is reasonable and
    4   necessary to maximize the value of the Debtors’ estates for the benefit of their stakeholders.
    5              19.   I believe that the Sale with the Court-approved Bidding Procedures will maximize the
    6   value of the Debtors’ assets by market testing them at the Auction and through the ensuing Sale Hearing.
    7   Such procedures will increase the likelihood that the Debtors’ stakeholders will receive the greatest
    8   possible consideration for the assets because they will ensure a competitive and fair bidding process.
    9              20.   I believe the Bidding Procedures will promote active bidding from seriously interested
  10    parties and will dispel any doubt as to the highest or otherwise best offer reasonably available for the
  11    Debtors’ assets. In particular, the proposed Bidding Procedures allow the Debtors to conduct the
  12    auction in a controlled, fair and open fashion that will encourage participation by financially capable
  13    bidders who demonstrate the ability to close a transaction.
  14               21.   For the foregoing reasons, the Debtors have determined to pursue a sale (including
  15    assumption and assignment of executory contracts and unexpired leases selected by the buyer) to the
  16    Stalking Horse Bidder, on the terms of the Stalking Horse Purchase Agreement, or to the Winning
  17    Bidder under a modified version of such agreement in accordance with the Court-approved Bid
  18    Procedures, which the Debtors determine is higher and better for the estate. The Debtors believe that the
  19    Sale, including the terms of the Sale and the Sale process, will maximize value and is in the best
  20    interests of the Debtors, their respective estates and stakeholders.
  21               22.   The Sale negotiations among the Debtors, Hillair and the Committee have been
  22    extensive, at arms-length, and in good faith, and have been carried out over a period of months.
  23    Moreover, the price ultimately to be paid by the Stalking Horse Bidder or another buyer will be subject
  24    to a market test and thus will be fair and reasonable, supporting the good faith of the process.
  25               23.   Moreover, to maximize value, the Debtors believe that a Sale should be closed quickly
  26    upon approval, to meet the needs of customers during the holiday season and because it is a condition of
  27    the Stalking Horse Purchase Agreement. Therefore, the Debtors have requested in the Sale Motion a
  28    waiver of the waiting periods under Federal Rules of Bankruptcy Procedure 6004 and 6006.

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    1              24.   For all the reasons set forth above and in the Sale Motion, I believe that entry of an order
    2   granting the Sale Motion and approving the Sale is in the best interests of the estates and their creditors.
    3

    4   Dated: September 19, 2019                                       ________________________
    5                                                                   Brian Weiss
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                                                      PROOF OF SERVICE OF DOCUMENT

        I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



        A true and correct copy of the foregoing document entitled (specify):
        MOTION FOR ENTRY OF ORDER (I) AUTHORIZING THE SALE OF SUBSTANTIALLY ALL OF THE ASSETS
        OF DEBTOR OUTSIDE THE ORDINARY COURSE OF BUSINESS, FREE AND CLEAR OF ALL LIENS,
        CLAIMS, ENCUMBRANCES AND INTERESTS, SUBJECT TO HIGHER AND BETTER BIDS; (II)
        AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY CONTRACTS AND
        UNEXPIRED LEASES IN CONNECTION WITH SUCH SALE; AND (III) GRANTING RELATED RELIEF;
        MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATION OF BRIAN WEISS
        _________________________________________________________________________________________
        will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
        and (b) in the manner stated below:

        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
        General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
        document. On (date)             , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
        and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at
        the email addresses stated below:

                                                                                           Service information continued on attached page

        2. SERVED BY UNITED STATES MAIL:
        On (date)        9/19/2019 , I served the following persons and/or entities at the last known addresses in this
        bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
        United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a
        declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

        Honorable Julia W. Brand
        United States Bankruptcy Court
        Central District of California
        Edward R. Roybal Federal Building and Courthouse
        255 E. Temple Street, Suite 1382
        Los Angeles, CA 90012

                                                                                           Service information continued on attached page

        3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
        method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)               ,I
        served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
        consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
        here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
        than 24 hours after the document is filed.


                                                                                           Service information continued on attached page

        I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


           9/19/2019                      Shane J. Moses                                           /s/ Shane J. Moses
           Date                           Printed Name                                             Signature



               This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


         June 2012                                                                                F 9013-3.1.PROOF.SERVICE
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        1.          TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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                  United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
                  Eric K Yaeckel yaeckel@sullivanlawgroupapc.com




                 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


         June 2012                                                                                  F 9013-3.1.PROOF.SERVICE
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